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    FIL ED
      9/2022
      1/1                                                  AUSA Jimmy L. Arce (312) 353-8449
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

     UNITED STATES OF AMERICA
                                                         Case No.: 22 CR 32-1
                   v.
                                                         GABRIEL A. FUENTES
     ANTHONY CAROLLO                                     Magistrate Judge

                        AFFIDAVIT IN REMOVAL PROCEEDING

            I, JOHN COLEMAN, appearing by telephone before United States Magistrate

    Judge GABRIEL A. FUENTES and being duly sworn on oath, state that as a federal

    law enforcement officer I have been informed that ANTHONY CAROLLO has been

    charged by criminal complaint in the District of Columbia with the following criminal

    offenses: entering an remaining in a restricted building or grounds, in violation of

    Title 18, United States Code, Section 1752(a); disorderly and disruptive conduct in a

    restricted building or grounds, in violation of Title 18, United States Code, Section

    1752 (a)(1); disorderly conduct in a capitol building, in violation of Title 40, United

    States Code, Section 5104(e)(2)(D); and parading, demonstrating, or picketing in a

    capitol building, in violation of Title 40, United States Code, Section 5104(e)(2)(G).
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      A copy of the redacted criminal complaint is attached. A copy of the arrest

warrant also is attached.


                                                   JOHN COLEMAN
                                                   Special Agent
                                                   Federal Bureau of Investigation


SUBSCRIBED AND SWORN to me telephonically this 19th day of January, 2022.


                                                   GABRIEL A. FUENTES
                                                   United States Magistrate Judge
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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                                District ofColumbia

                   United States ofAmerica                                   )
                                   V.                                        )
                                                                             )        Case No.
                CODY VOLLAN, (12/05/1990)                                    )
             ANTHONY CAROLLO, (10/21/1998)
             JEREMIAH CAROLLO , (11/11/1976)                                 )
                                                                             )
                                                                             )
                           Defendant(s)

                                                     CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best ofmy knowledge and belie£
On or about the date(s) of                      January 6, 2021                     in the county of                                 _   in the
                      in the District of     Columbia                   , the defendant(s) violated:
         Code Section              Offense Description                                            Defendant
         18U.S.C. § 1752(a)(l)-         Entering and Remaining in a Restricted Building      Defendant Cody Vollan
                                        or Grounds;                                          Defendant Anthony Carollo
                                                                                             Defendant Jeremiah Carollo

         18 U.S.C. § 1752(a)(l)-        Disorderly and Disruptive Conduct in a Restricted    Defendant Cody Vollan
                                        Building or Grounds                                  Defendant Anthony Carollo
                                                                                             Defendant Jeremiah Carollo
         40 U.S.C. § 5104(e)(2)(D)-     Disorderly Conduct in a Capitol Building;            Defendant Cody Vollan
                                                                                             Defendant Anthony Carollo
                                                                                             Defendant Jeremiah Carollo

         40 U.S.C. § 5104(e)(2)(G)-     Parading, Demonstrating, or Picketing in a Capitol   Defendant Cody Vollan
                                        Building                                             Defendant Anthony Carollo
                                                                                             Defendant Jeremiah Carollo




                  This criminal complaint is based on these facts:
          See attached statement of facts.
                                                                                                        Complaint's Signature
                  N Continued on the attached sheet.
                                                                                        John Coleman, Agent
                                                                                                            Printed name and title

Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1
by telephone.

Date:             01/14/2022
                                                                                                                Judge's signature

City and state:                         Washington, D.C.                               G. Michael Harvey U.S. Magistrate Judge
                                                                                                            Printed name and title
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                                   STATEMENT OF FACTS

       Your affiant, John J. Coleman, is a Special Agent with the Federal Bureau of Investigation
(FBI). As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. Currently, I am tasked with investigating criminal activity in and around the United States
Capitol Building and grounds on January 6, 2021.

        The United States Capitol is secured twenty-four hours a day by United States Capitol
Police (USCP). Restrictions around the Capitol include permanent and temporary security barriers
and posts manned by USCP. Only authorized people with appropriate identification are allowed
access inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As noted
above, temporary barricades and permanent barricades were in place around the exterior of the
Capitol. USCP were present and attempting to keep the crowd away from the Capitol building as
the proceedings were underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and to keep the crowd from entering the Capitol. However, around 2:00 p.m.,
individuals in the crowd forced entry into the Capitol. Some members of the crowd gained access
and entry to the Capitol by breaking windows and assaulting members of the USCP. Others in the
crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the Capitol
from the time he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of people present on the scene depicted evidence of violations of
local and federal law, including many people inside the U.S. Capitol building without authority to
be there.
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             INVESTIGATION OF ANTHONY CAROLLO, JEREMIAH CAROLLO,
             AND CODY VOLLAN AND THEIR INVOLVEMENT IN THE EVENTS
                               OF JANUARY 6, 2021

        Based on geolocation data obtained with a search warrant served on Google, law
enforcement became aware that mobile devices associated with Google accounts
  carollo@gmail.com, jeremiah            @gmail.com, and            vollan@gmail.com likely were
located in and/or around the restricted area of the U.S. Captiol, to include the inside of the Capitol
Building, on January 6, 2021. 1

        The FBI has reviewed the available information for the above-referenced email addresses
to determine whether people owning those email addresses could have been inside the U.S. Capitol
Building lawfully January 6, 2021. The information for those email addresses did not match any
information for people lawfully within the Capitol on that date. Accordingly, I believe that the
individuals possessing mobile devices associated with those email addresses were not authorized
to be within the U.S. Capitol Building on January 6, 2021.

                            Subject 1: Anthony Carollo ( carollo@gmail.com)

        Records provided by Google revealed that the Google account carollo@gmail.com was
registered in the name of Anthony Carollo, with a recovery telephone number ending in -1136. 2

       According to records obtained from AT&T, the telephone number ending in -1136 is
subscribed to a person with the address               , Lockport IL 6044. 3

      According to subscriber records obtained from Snapchat, as of February 1, 2019, telephone
number ending in -1136 was associated with the username “ carollo,” with a display name of
“Tony.”

       According to records obtained from the Illinois Department of Motor Vehicles, Anthony
Carollo’s address is                    , Lockport IL 60441 (the same address as listed in the
AT&T records).




1
  The full email addresses are known to law enforcement; however, those addresses are partially redacted herein due
to the public nature of the filing.
2
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
3
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.




                                                               2
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                       Subject 2: Jeremiah Carollo (jeremiah                        @gmail.com)

       Records    provided     by      Google revealed   that   the    Google     account
jeremiah       @gmail.com was registered in the name of Jeremiah Carollo, with a recovery
telephone number of ending in -7901. 4

       According to records obtained from Sprint, the telephone number ending in -7901 is
subscribed to a person with the address             , Glen Carbon, IL 62034. 5

        According to subscriber records obtained from Facebook, as of September 29, 2015,
telephone number ending in -7901 is associated with the username “Jerry Carollo,” with an account
identifier of “jerry.carollo. .”

        According to records obtained from the Illinois Department of Motor Vehicles, Jeremiah
Carollo’s address is                , Glen Carbon, IL 62034 (the same address as listed in the
Sprint records).

                              Subject 3: Cody Vollan (               vollan@gmail.com)

       Records provided by Google revealed that the Google account          vollan@gmail.com
was registered in the name of “C V,” with a recovery telephone number of ending in -5776. 6

        According to AT&T records, the subscriber for the telephone number ending in -5776, as
of December 18, 2013, is Cody Vollan, with an address of                        , Lockport IL
60441. 7

       According to records obtained from the Illinois Department of Motor Vehicles, Cody
Vollan’s address is                     , Lockport IL 60441 (the same address as listed in the
AT&T records). This is the same address in Lockport, IL, as associated with the records for
Anthony Carollo that are described above.

                                                     Video Footage

        During the course of the investigation, law enforcement officers recovered video footage
recorded within and around the U.S. Capitol Building on January 6, 2021. In this footage, law
enforcement officers located images of people who appear fully consistent with the appearances
of Anthony Carollo, Jeremiah Carollo, and Cody Vollan, based on comparisons with each man’s
driver license photograph obtained from the Illinois Department of Motor Vehicles.

4
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
5
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.
6
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
7
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.




                                                              3
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2021. He stated that he traveled to Washington, D.C., with Anthony Carollo and Cody Vollan,
who both entered the Capitol Building with him. In addition, he verified his cell phone number as
the number ending in -7901 described herein. Jeremiah was shown Photos 1 and 6 above, and
identified himself as well as Anthony Carollo and Cody Vollan.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Anthony Carollo, Jeremiah Carollo, and Cody Vollan violated 18 U.S.C. §§ 1752(a)(1) and (2),
which make it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Anthony Carollo, Jeremiah
Carollo, and Cody Vollan violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.



                                                      _________________________________
                                                      John J. Coleman
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of January, 2022.


                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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